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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


 IN RE:                                                   No. 14-MD-2543 (JMF)

 GENERAL MOTORS LLC IGNITION
 SWITCH LITIGATION


 This Document Relates to:

 ALL ECONOMIC LOSS ACTIONS


       JOINT MOTION FOR ORDER SUPPLEMENTING ORDER GRANTING
    PRELIMINARY APPROVAL OF CLASS SETTLEMENT, DIRECTING NOTICE
            UNDER RULE 23(E), AND GRANTING RELATED RELIEF

       The Economic Loss Plaintiffs (“Plaintiffs”), General Motors LLC (“New GM”), the

Motors Liquidation Company GUC Trust (the “GUC Trust”), and the Motors Liquidation

Company Avoidance Action Trust (the “AAT”) (collectively, the “Parties”), move the Court for

entry of an Order supplementing the Order Granting Preliminary Approval of Class Settlement,

Directing Notice Under Rule 23(e) and Granting Related Relief (the “Preliminary Approval

Order”).

       On March 27, 2020, Plaintiffs, New GM, and the GUC Trust (the “Original Parties”)

entered into a Settlement Agreement (the “Settlement Agreement”) subject to preliminary and final

approval by this Court. The AAT was not a party to the original Settlement Agreement. As a

result, the Settlement Agreement did not release the AAT, Old GM or the Old GM bankruptcy

estate from litigation concerning the Plaintiffs’ Proposed Proofs of Claim to the extent recoverable

from the AAT; nor did the Settlement Agreement release the AAT, Old GM or the Old GM

bankruptcy estate from claims that could be asserted by New GM to the extent recoverable from

the AAT. However, the Settlement Agreement did contemplate a potential future agreement with
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the AAT, and specified the terms on which the Settlement Agreement would be amended if the

Original Parties reached an agreement with the AAT. (See, e.g., Settlement Agreement ¶¶ 81(a)

and 164 [Docket No. 7815])

       The AAT, Plaintiffs and New GM reached an agreement-in-principle that would allow the

AAT to become a party to the Settlement Agreement on April 22, 2020 and so notified the Court

in a letter identifying the key terms. [Docket No. 7869] On April 23, 2020, the Court held a

preliminary approval hearing concerning the Settlement, at which time the agreement-in-principle

with the AAT was discussed further. (4/23/20 Hearing Tr. pp. 4-5, 9-23, 65, 68) On April 27,

2020, the Court entered an Order Granting Preliminary Approval of Class Settlement, Directing

Notice Under Rule 23(e) and Granting Related Relief (“Preliminary Approval Order”). The

Preliminary Approval Order involved the March 27, 2020 Settlement Agreement and therefore did

not yet address any of the newly-agreed-to terms related to the AAT agreement-in-principle. The

Preliminary Approval Order directed the Parties to file an amended Settlement Agreement with

the Court no later than May 1, 2020. (4/27/20 Order ¶ 3 [Docket No. 7877]) The Preliminary

Approval Order provides that the Original Parties may make “non-material” modifications to the

Settlement Agreement without further Order of the Court, but contemplates the Parties will seek

the Court’s approval for material modifications to the Settlement Agreement, such as occurred

here with the addition of the AAT as a party. Pursuant to the Preliminary Approval Order, the

Court retained jurisdiction over the Settlement Agreement and the Actions (as defined in the

Settlement Agreement) pending before the Court in order to consider all further matters arising

out of or connected with the Settlement. (Id. ¶ 49.)

       The Parties have now entered into the Settlement Agreement, as Amended on May 1, 2020

(“Amended Settlement Agreement”), consistent with the terms previously described to the Court.




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The AAT will contribute $2.2 million to the Common Fund (as defined in the Amended Settlement

Agreement) decreasing New GM’s contribution to the Common Fund by $1.1 million such that

the Common Fund increases from $120 million to $121.1 million; and Plaintiffs, New GM, and

the AAT agreed to mutual releases of claims. The Amended Settlement Agreement also includes

amendments to the Class Notice exhibits in order to address the addition of the AAT as a Party to

the Settlement.   Specifically, Exhibits 5 (Long Form Notice), 11 (Short Form Notice), 12

(Summary Settlement Notice), 16 (Initial Press Release) and 17 (Reminder Press Release) reflect

these amendments. Additionally, the Amended Settlement Agreement includes four new exhibits

to take into account the addition of the AAT to the Settlement. These new exhibits are as follows:

Exhibits 18 (a supplemental CAFA notice), Exhibit 19 (AAT Release Agreement), Exhibit 20

(AAT Approval Order) and Exhibit 21 (proposed Order Supplementing Order Granting

Preliminary Approval of Class Settlement, Directing Notice Under Rule 23(E), and Granting

Related Relief). A copy of the Amended Settlement Agreement is attached hereto as Exhibit A.

Additionally, the edits to the Class Notice exhibits approved pursuant to the Court’s Preliminary

Approval Order in order to incorporate the AAT as a party are reflected in the set of track change

documents attached hereto as Exhibit B.

       Accordingly, the Parties respectfully request that the Court enter an Order supplementing

the Preliminary Approval Order to allow for the AAT’s entry into the Amended Settlement

Agreement by preliminarily approving the Amended Settlement Agreement and authorizing the

Parties to take, without further Court approval, all necessary and appropriate steps to implement

the Amended Settlement Agreement, including the Class Notice program utilizing the amended

Class Notice exhibits. The Amended Settlement Agreement incorporates the terms previously

disclosed to the Court in the Parties’ announcement of the AAT agreement-in-principle. The new




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and revised provisions in the Amended Settlement Agreement do not affect any of the Court’s

findings in the Preliminary Approval Order, especially given that the original Settlement

Agreement contemplated that the AAT might be made a party to it. Moreover, the Parties had

previewed the terms on which the AAT was to be added to the Settlement Agreement when they

informed the Court of the AAT agreement-in-principle and discussed it at the hearing on April 23,

2020.



 Dated: May 1, 2020                                   Respectfully submitted,


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